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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA,                  §
                                           §
                                           §
                                           §
VS.                                        §     CRIMINAL ACTION NO. H-14-195-5
                                           §
VITUS NWOSU OFOMA,                         §
                                           §
                                           §

                                       ORDER

       Joan Nwuli’s motion to withdraw as counsel, (Docket Entry No. 99) is granted. She

may withdraw as counsel of record for Vitus Nwosu Ofoma in this action. Bassey O.

Akpaffiong is substituted as counsel of record for Vitus Nwosu Ofoma.

             SIGNED on October 23, 2014, at Houston, Texas.

                                               ______________________________________
                                                        Lee H. Rosenthal
                                                  United States District Judge
